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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :     Crim. No. 21-cr-00024 (EGS)
                                               :
ROBERT GIESWEIN                                :
                                               :
                       Defendant.              :


                     UNITED STATES’ UNOPPOSED
     MOTION FOR AN ENLARGEMENT OF TIME TO FILE PROPOSED ORDER
              REGARDING DEFENSE DISCOVERY DATABASE

       The United States hereby respectfully requests the Court to enlarge the time within which

the parties must submit a proposed order concerning the establishment of a defense discovery

database by no later September 10, 2021, until Wednesday, August 18, 2021. The government is

authorized to represent that Defendant is unopposed to the requested relief. In support of this

motion, the government states the following:

       1. At a status hearing on August 12, 2021, the Court ordered the government to fund an

entity, company, or program to facilitate the receipt and analysis of discovery.

       2. As the government explained at the hearing, the Court’s Order is consistent with the

what the United States was already undertaking to do in discussions with leadership at the

Federal Public Defender for the District of Columbia (“FPD”). However, the manner in which

the database will actually be established requires the United States to engage in significant

additional discussions with FPD and with potential vendor(s) FPD may utilize to receive

discovery. Postponing the government’s submission of the proposed order will delay neither the

creation of the database nor the transfer of discovery to the defendant. The requested
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      postponement would, however, afford the government the opportunity to propose and execute a

      better more carefully constructed solution.

             3. The government understands that FPD leadership consulted with defense counsel in

      this case and that defense counsel has consented to the requested enlargement of time to file the

      proposed order. To be clear, the United States is not requesting an extension of the time within

      which to fulfill the Court’s Order.



                                                    Respectfully submitted,

                                                    CHANNING D. PHILLIPS
                                                    Acting United States Attorney
                                                    DC Bar No. 415793



By:           /s/ Emily A. Miller                          By:        /s/ Erik M. Kenerson
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